Case 1:09-cr-00263-CMH Document6 Filed 05/13/09 Page 1 of 1 PagelD# 24

AO 442 (Rev. 01/09) Arrest Warrant / @ x3 @ 3@

IN OPEN COURT

UNITED STATES DISTRICT COURT
for the MAY | 3 2009
Eastern District of Virginia
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United States of America 2 2 _ m
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JAMES WILBUR FONDREN, JR. ) caseNo. [ q Hes =5 Py 2B
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Defendant a = = =n
27 8S &
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) JAMES WILBUR FONDREN, JR.
who is accused of an offense or violation based on the following document filed with the court:

© Indictment 0 Superseding Indictment © Information © Superseding Information a Complaint
© Probation Violation Petition © Supervised Release Violation Petition O Violation Notice O Order of the Court

This offense is briefly described as follows:

Conspiracy to communicate classified information to an agent or representative of a foreign government, in violation of Title
50, United States Code, Section 783(a) and Tile 18, United States Code, Section 371.

/s/
Date: 05/11/2009 Theresa Carroll Buchanan
United States Magistrate Judge

City and state: Alexandria, Virginia

Return

This warrant was received on (date) OS =( 13 | aBom , and the person was arrested on (date) os }¢ & } BOON
at (city and state) Weel wn unonbo 4. oem

yd officer's signature

o Vv). Sibbs

Printed name and title

Date: esis] ODD.

